                                         UNITED STATES DISTRICT COURT
     Reset Form                          WESTERN DISTRICT OF MISSOURI

                                         CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                                                Matter to be Sealed
                                                                                         Secret Indictment
Jackson / Western
                                                                                         Juvenile
Defendant Information
Defendant Name:            Ernest L. Hall

Alias Name:

Birth Date:               05/07/1963
Related Case Information
Superseding Indictment?            Yes      ■   No If yes, original case number:
New Defendant(s)?                  Yes      ■   No
Prior Complaint Case Number, if any:        24-MJ-00162-JAM

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Green, D. Michael

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
■   Currently in Federal Custody                                                     Writ Required?              Yes        ■   No
    Currently in State Custody                                                                                   Yes        ■   No
                                                                                     Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts                  7

     Set                       Index Key & Description of Offense Charged                                    Count(s)

      1        18:933.F CONSPIRACY TO TRAFFIC FIREARMS                                                           1

      2        18:923.F ENGAGING IN FIREARMS SALES WITHOUT A LICENSE                                             2

      3        18:933A.F TRAFFICKING FIREARMS                                                                3, 4, 8, 9

      4        18:922G.F FELON IN POSSESSION OF FIREARMS                                                        12



                                                     (May be continued on reverse)                             revised: 12/02/2024
                  Case 4:24-cr-00291-DGK             Document 15-1          Filed 12/17/24     Page 1 of 2
Set                   Index Key & Description of Offense Charged                         Count(s)


5     18:934.F FORFEITURE                                                                    FA1


6     18:924D.F SEIZURE, FORFEITURE AND DISPOSITION OF FIREARM                               FA2


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         Case 4:24-cr-00291-DGK         Document 15-1         Filed 12/17/24   Page 2 of 2
